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                             UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF COLORADO


In re                                  )
Richard Weingarten,                    )      Case No. 20-bk-16815
                                       )
       Debtor                          )      Chapter 11      Subchapter V


Stephen J. Klen and Edward J. Klen, )         Adversary No. 21-ap-01009
                                    )
               Plaintiffs           )
                                    )
vs.                                 )
                                    )
Richard Weingarten and              )
Chee Wei Fong,                      )
                                    )
               Defendants           )



          ORDER REGARDING PLAINTIFFS’ MOTION TO TOLL DEADLINES


       This matter comes before the Court on Plaintiffs Edward Klen and Stephen Klen’s Motion to

toll deadlines in this matter for twenty days. The Court being duly advised in the premises, hereby

ORDERS :

       The motion is granted.

                                                       Dated this___________day of March, 2021

                         March 8, 2021

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                                                              Joseph G. Rosania, Jr., Judge

                                                              Unites States Bankruptcy Court
